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    9                          UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
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   12 YALCIN AYASLI                           Case No. 2:20-cv-09388-CAS-PD
   13                                         [PROPOSED] ORDER ON MOTION
                  Plaintiff,                  TO DISMISS FOR INSUFFICIENT
   14                                         SERVICE OF PROCESS, LACK OF
                                              PERSONAL JURISDICTION, AND
   15        v.                               FAILURE TO STATE A CLAIM
   16                                         Judge: Hon. Christina A. Snyder
        SEZGIN BARAN KORKMAZ, et al.
   17                                         Complaint Filed: October 10, 2020
                                              Trial Date: None Set
   18             Defendants.
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                                                                     Case No. 2:20-cv-09388
                                                                      [PROPOSED] ORDER
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    1        Upon consideration of the Motion to Dismiss For Insufficient Service of
    2 Process, Lack of Personal Jurisdiction, and Failure to State a Claim (the “Motion”)
    3 filed by defendant Fatih Akol, and the arguments and papers presented in support
    4 and opposition thereto, the Court ORDERS that:
    5        1. The Motion is GRANTED in its entirety; and
    6        2. Fatih Akol is dismissed from this case for insufficient and untimely service
    7           of process pursuant to Fed. R. Civ. P. 12(b)(5) and 4(m);
    8        3. Fatih Akol is dismissed from this case for lack of personal jurisdiction
    9           pursuant to Fed. R. Civ. P. 12(b)(2); and
   10        4. Fatih Akol is dismissed from this case due to Plaintiff’s failure to state a
   11           claim against him pursuant to Fed. R. Civ. P. 12(b)(6).
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   13 IT IS SO ORDERED.
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   15 DATED:__________________                   ___________________________________
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                                                          United States District Judge
   17
                                                       The Honorable Christina A. Snyder
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                                                                               [PROPOSED] ORDER
